.,.,    Case: 3:18-cr-00045-WHR Doc #: 3 Filed: 10/21/20 Page: 1 of 1 PAGEID #: 66




                                   IN UNITED ST ATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION AT DAYTON


       UNITED STATES OF AMERICA                             )
                                                            )
                        VS                                  )            Case No. 3:18CR045
                                                            )
                                                            )
       JOSHUA MUSTOVICH


                              ORDER TERMINATING SUPERVISED RELEASE




       On December 30, 2016, the above named commenced a five-year term of supervised release

       following his term of imprisonment.               Based on the recommendation of the U.S. Probation

       Department, no objections from the Government, and for good cause shown, it is hereby ordered

       Joshua Mustovich is discharged from supervised release and the proceedings in this case be

       terminated.

               IT IS SO ORDERED.



       Dated this I ~ 1:b day of ()--t_A--t) \..}...,-




                                                   Walter H. Rice
                                                   United States District Judge
